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UNITED STATES DISTRICT COURT UnreOGe JO,
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NORTHERN DISTRICT OF ILLINOIS ES Dg ARP sp
EASTERN DIVISION Cr¢
UNITED STATES OF AMERICA

No. 20 CR 688-2
v.

Judge John J. Tharp, dy.
GEE SIONG KOK
PLEA AGREEMENT
1. This Plea Agreement between MORRIS PASQUAL, the Attorney for the
United States Acting Under Authority Conferred by 28 U.S.C, § 515, and defendant
GEE SIONG KOK, and his attorney, HUGENE MURPHY, is made pursuant to Rule
ii of the Federal Rules of Criminal Procedure and is governed in part by Rule
" 11(@¢)(C1)(A), as more fully set forth below. The parties to this Agreement have agreed

upon the following:

Charges in This Case

2. The indictment in this case charges defendant with conspiracy to steal
trade secrets, in violation of Title 18, United States Code, Section 1832(a)(5) (Count
One), and theft of trade secrets, in violation of Title 18, United States Code, Sections
1832(a\(3) and (a)(4) (Counts Two through Five).

Bi Defendant has xvead the charges against him contained in the
indictment, and those charges have been fully explained to him by his attorney.

4, Defendant fully understands the nature and elements of the crimes with

which he has been charged.

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Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the following count of the indictment: Count One, which charges defendant
with conspiring to steal trade secrets, in violation of Title 18, United States Code,
Section 1832(a)(5). In addition, as further provided below, defendant agrees to the

entry of a forfeiture Judgment.

Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in Count One of the indictment. In pleading guilty, defendant admits the
following facts and that those facts establish his guilt beyond a reasonable doubt, and
establish a basis for forfeiture of the property described elsewhere in this Plea
Agreement:

Beginning no later than on or about June 8, 2007 and continuing until at least
on or about June 22, 2020, in the Northern District of Winois, Hastern Division, and
elsewhere, defendant GEE SIONG KOK did knowingly conspire with Hytera
Communications Corporation, Lid. (“Hytera”), Yih Tzye Kok (YT”), Samuel Chia
Han Siong (“Chia”), Phaik ce Ooi (“Oot”), Wong Kiat Hoe (“Wong”), Yu Kok Hoong
(“Hoong”), and Chua Siew Wei (“Chua”) and others to violate Title 18, United States

Code, Sections 1832(a)(1), (2) and (8), all in violation of Title 18, United States Code,

Section 1832{a)(5),

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Hytera was a telecommunications company headquartered in Shenzhen,
China. Motorola Solutions, Inc. (“Motorola”) was a telecommunications company
headquartered in Schaumburg, Illinois with offices worldwide, including in Malaysia.
Both Hytera and Motorola previously sold mobile radios that relied on analog
technology to transmit and receive communications, In approximately 2008, however,
the U.S. Federal Communications Commission (FCC) set a deadline of 2013 by which
radio products would need to operate on a narrow channel bandwidth of 12.5 kHz
(previously it was 25kHz or less) and announced that radio products would ultimately
be required to operate within bandwidths of 6.25 kHz or less. This change effectively
forced manufacturers to move to digital technology, which was better able to handle
the narrow bandwidth requirement.

Defendant knew that hundreds of Motorola employees worldwide spent years
developing the hardware and software solutions to design, manufacture, market, and
sell digital mobile radios (OMRs), Defendant also knew that by approximately 2007,
Motorola was offering DMR products for sale to the public. DMRs were used for
instantaneous, reliable communications, such as by police, fire department, and other
emergency services. Some of these customers built their radio infrastructure around
a specific product and entered into years-long contracts related to the DMR, products.

By at least June 2007, an executive at Hytera (“Executive 1”) had begun. to

recruit defendant to leave Motorola in Malaysia and start working for Hytera in the

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People’s Republic of China. During the recruitment of defendant, Executive 1 and
defendant met in person multiple times.

At the time of his recruitment to Hytera, defendant was the Senior
Engineering Manager responsible for DMR products at Motorola. On multiple
occasions, Executive 1 told defendant that he wanted to develop Hytera’s DMR
product in a two-year time frame, Defendant believed that it would take several more
years to develop a DMR product: like Motorola’s. Executive 1 told defendant to take
Motorola’s technology, including source code for DMR products, and use it at Hytera
to develop the technology faster.

Before defendant joined Hytera and while defendant was at Hytera, Ixecutive
I requested and defendant agreed that they would steal Motorola’s DMR. technology.
To accomplish this task, defendant recruited multiple Motorola employees and told
them to steal Motorola trade secrets, including Motorola’s proprietary source code
related to DMR. Defendant started working at Hytera in approximately lebruary
2008. Defendant earned a higher salary at Hytera and had the opportunity to
purchase valuable stock options. Defendant earned approximately $1,253,766 during
his employment at HYTERA, Defendant’s title was Director of Research and
Development and defendant reported directly to Executive 1. Defendant was

eventually made a member of Hytera’s Board of Directors.

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The employees that defendant recruited from Motorola were Yl’, Chia, Wong,
Hoong, and Chua. Defendant knew that YT recruited Ooi to Hytera after YT joined
Hytera. ‘These employees worked at Motorola’s facility in Penang, Malaysia.

In part because of defendant’s instruction, co-defendants YT, Chia, Wong,
Hoong, and Chua accessed and copied confidential, proprietary and trade secret
Motorola information, including Motorola’s DMR source code, without Motorola’s
knowledge or consent. This information was downloaded from Motorola’s servers in
Malaysia. These co-defendants then provided this information to Hytera without
Motorola’s knowledge or consent.

More specifically, YI and Chia, who had access to Motorola’s files, were
vesponsible for stealing the source code from Motorola and they maintained
possession of the stolen code. They gave pieces of Motorola’s software code as needed
to Hytera’s engineers,

Defendant acknowledges that when the defendants accessed Motorola
documents from Malaysia, those requests were first routed through a Motorola server
in the Northern District of Illinois before retrieving the information from servers in
Connecticut or Delaware. Similarly, defendant acknowledges that while some
Motorola documents were locally cached on computers in Malaysia, when a request
for that document was made, the network would still perform a “checksum” function.
to ensure that the document was the most recent version. This checksum would

involve routing data through a Motorola server in the Northern District of [inois.

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As instructed by Executive 1, Defendant told Chia that he should take as muuch
information as he could take from Motorola and everything related to DMR. Chia,
with others, stole proprietary Motorola DMR, information, including the source code,
Hytera engineers used Motorola’s stolen trade secret information,

Ooi was recruited by YT to serve as a software development project manager
to manage all the software development that was ongoing at Hytera. Defendant went
to Executive 1 to get approval to hire Ooi and Executive 1 approved hiring Ooi.

“While at Motorola, defendant supervised Wong, Hoong, and Chua. Defendant
selected Wong because Hytera needed someone who (1) could develop testing
parameters for ytera’s products and (2) was familiar with DMR testing. Hoong was
chosen. because of his expertise in synthesizer design and familiarity with the timing
restrictions imposed by TDMA or Time Division Multiple Access. Chua was also
chosen for her experience with synthesizer design.

As a result of Executive 1’s instruction and defendant’s efforts, and the efforts
of other Hytera employees taken at defendant’s instruction or with his agreement,
Hytera’s DMR used source code stolen from Motorola. Defendant was aware that
Hytera marketed and sold its DMR, which relied on Motorola’s stolen trade secret
information and technology, including Motorola’s source code, around the world.
Defendant acknowledges that Hytera’s DMR was sold in the Northern District of

[linois at least as recently as November 2019.

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Defendant knew that certain information stolen from Motorola and used by
Hytera in its DMR product were Motorola trade secrets. More sp ecifically, defendant
acknowledges that he knew that certain stolen information, such as Motorola’s source
code, were trade secrets because Motorola took reasonable security measures, related
to both physical security and cyber security, to keep the information secret and that
the information had independent economic value from not being public. Namely,
Motorola was able to market and sell its DMR product based on this trade secret
information, while Hytera was still in the research and development stage with its
DMR product. Defendant also knew that Hytera needed to rely on the stolen Motorola
information to develop its DMR product.

Based on the stolen trade secrets, Hytera was able to develop a DMR product
by 2010. The product used and relied on stolen Motorola technology.

Defendant acknowledges that the theft of trade secrets from Motorola caused
at least $252,100,000 in pecuniary harm to Motorola in the form of lost profits to
Motorola. This loss is calculated as the approximate profit Motorola would have
earned from selling additional DMRs instead of Hytera selling its stolen radios which
relied on and used Motorola’s trade secret technology.

On September 22, 2017, Defendant testified in a deposition as part of In the
Matter of Certain Two-Way Radio Equipment Systems, Related Software and
Components Thereof, 887-TA-1053, before the United States International Trade

Commission. Defendant acknowledges that during the deposition, and under oath,

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he provided materially false testimony related his involvement in the theft of trade
secret information from Motorola described above.

7. The foregoing facts are set forth solely to assist the Court in determining
whether a factual basis exists for defendant's plea of guilty and criminal forfeiture
and are not intended to be a complete or comprehensive statement of all the facts
within defendant’s personal knowledge regarding the charged crimes and related
conduct,

Maximum Statutory Penalties

8. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of 10 years’ imprisonment, This offense also
carries a maxinvum fine of $260,000, or twice the gross gain or gross loss resulting
from that offense, whichever is greater. Defendant further understands that the
judge also may impose a term of supervised release of not more than three years.

b. Defendant further understands that the Court must order
restitution to the victims of the offense in an amount determined by the Court,

c. Pursuant to Title 18, United States Code, Section 3018, defendant
will be assessed $100 on the charge to which he has pled guilty, in addition to any

other penalty or restitution imposed.

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Sentencing Guidelines Calculations

9. Defendant understands that in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. § 3553(a), which include: @) the nature and
circumstances of the offense and the history and characteristics of the defendant; Gi)
the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, and provide just punishment for the offense, afford adequate
deterrence to criminal conduct, protect. the public from further crimes of the
defendant, and provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner; (i) the
kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.

10. For purposes of calculating the Sentencing Guidelines, the parties agree
on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect atthe time of sentencing. The following
statements regarding the calculation of the Sentencing Guidelines are based on the
Guidelines Manual currently in effect, namely the November 2021 Guidelines

Manual.

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b. Offense Level Calculations.

i. The base offense level is 6, pursuant to Guideline
§ 2B1.1(a)(2).

ii. The offense level is increased by 26 levels, pursuant to
Guideline § 2B1.1(b)(1)(N), because the loss amount is more than 150,000,000.

i. The offense level is increased by 2 levels, pursuant to
Guideline § 2B1.1(b)(10)(B), because a substantial portion of the fraudulent scheme
was committed from outside of the United States.

iv. The offense level is increased by 4 levels, pursuant to
Guideline § 3B1.1(a) because the defendant was an organizer or leader of a criminal
activity that involved 6 or more participants.

Vv A two-level enhancement applies pursuant to §38C1.1
because defendant willfully obstructed or impeded, or attempted to obstruct or
impede, the administration. of justice with respect to the investigation, prosecution,
or sentencing of the instant offense of conviction and the obstructive conduct related
to the defendant’s offense and of conviction and any relevant conduct.

vi. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for his actions within the meaning of

Guideline § 381.1(a), including by furnishing the United States Attorney's Office and

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the Probation Office with all requested financial information relevant to his ability to
satisfy any fine or restitution that may be imposed in this case, a two-level reduction
in the offense level is appropriate.

vil. In accord with Guideline § 8H1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently, Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level,

c, Criminal History Category. With regard to determining
defendant's criminal history points and criminal history category, based on the facts
now known to the government, defendant’s criminal history points equal zero and
defendant’s criminal history category is I.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense
level is 37 which, when combined with the anticipated criminal history category of I,
results in an anticipated advisory sentencing guidelines range of 210 to 262 months’
imprisonment, in addition to any supervised release, fine, and restitution the Court

may lmpose.

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a. Pursuant to Guideline §5GL.1(a), because the statutorily
authorized maximum sentence is less than the minimum of the applicable guideline
range, the guidelines sentence is the statutorily authorized maximum sentence of 120
months’ imprisonment.

f, Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-binding
predictions upon which neither party is entitled to rely, Defendant understands that.
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.
Defendant understands that the Probation Office will conduct its own investigation
and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation,
Accordingly, the validity of this Agreement is not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw his plea on the basis of the Court’s rejection of these
calculations.

g, Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11()(1)®), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to sentencing.
The parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

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provisions of the guidelines. The validity of this Agreement will not be affected by
such corrections, and defendant shall not have a right to withdraw his plea, nor the
government the right to vacate this Agreement, on the basis of such corrections,
Cooperation

11. Defendant agrees he will fully and truthfully cooperate in any matter in
which he is called upon to cooperate by a representative of the United States
Attorney’s Office for the Northern District of Hlinois. This cooperation shall include
providing complete and truthful information in any investigation and pre-trial
preparation and complete and truthful testimony im any criminal, civil, or
administrative proceeding. Defendant agrees to the postponement of his sentencing
until after the conclusion of his cooperation.

Agreements Relating to Sentencing

12. At the time. of sentencing, the government shall make known to the
sentencing judge the extent of defendant’s cooperation. If the government determines
that defendant has continued to provide full and truthful cooperation as required by
this Agreement, then the government shall move the Court, pursuant to Guideline
§ 5KL1, to depart downward from the low end of the applicable Guideline range.
Defendant shall be free to recommend any sentence. Defendant understands that the
decision to depart from the applicable guideline range rests solely with the Court.

Defendant further understands that the government reserves the right to make

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whatever recommendation it deems appropriate regarding the extent of any
downward departure,

18. If the government does not move the Court, pursuant to Guideline
§ 5K1.1, to depart from the applicable guideline range, as set forth above, the
preceding paragraph of this Agreement will be inoperative, both parties shall be free
to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth in 18 U.S.C. § 3553(a) as well as the Sentencing
Guidelines without any downward departure for cooperation pursuant to § 5K1.1.
Defendant may not withdraw his plea of guilty because the government has failed to
male a motion pursuant to Guideline § BK1.1,

14, It is understood by the parties that the sentencing judge is netther a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdraw his guilty plea.

15. Regarding restitution, defendant acknowledges that the total amount of
restitution owed to Motorola Solutions, Inc. is $252,100,000, minus any credit for
funds repaid prior to sentencing, and that pursuant to Title 18, United States Code,
Section 8668A, the Court must order defendant, together with any jointly liable co-
defendants, to make full restitution in the amount outstanding at the time of

sentencing.

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16. Restitution shall be due immediately, and paid pursuant to a schedule
to be set by the Court at sentencing. Defendant acknowledges that pursuant to Title
18, United States Code, Section 3664(k), he is required to notify the Court and the
United States Attorney's Office of any material change in economic circumstances
that might affect his ability to pay restitution,

17. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier's check ot money order payable to the Clerk of the U.S.
District Court.

18. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,
Sections 3572, 3618, and 3664(m), notwithstanding any payment schedule set by the
Court.

19. After sentence has been imposed on the count to which defendant pleads
guilty as agreed herein, the government will move to dismiss the remaining counts of
the indictment as to defendant.

Forfeiture

20. Defendant understands that by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any property
constituting or derived from proceeds obtained, directly or indirectly, as a result of

the offense.

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ai. Defendant agrees to the entry of a personal money judgment in the
amount of $1,003,012 which represents proceeds traceable to the offense. Defendant
consents to the immediate entry of a preliminary order of forfeiture setting forth the
amount of the personal money judgment he will be ordered to pay.

29. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the
Court may impose upon defendant in addition to the forfeiture judgment, In this case,
however, the United States Attorney’s Office will recommend to the Attorney General
that any net proceeds derived from any forfeited assets be remitted or vestored to
Motorola pursuant to Title 18, United States Code, Section 981(e), Title 28, Code of
Federal Regulations, Part 9, and other applicable law.

23. Defendant agrees to waive all constitutional, statutory, and equitable
challenges in any manner, including but not limited to direct appeal or a motion
brought under Title 28, United States Code, Section 2255, to any forfeiture. carried
out in accordance with this agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The waiver in this paragraph does not

apply to a claim of involuntariness or ineffective assistance of counsel.

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Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement

24, This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant's
criminal liability in case 20 CR 688-2.

25, This Agreement concerns criminal lability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial -
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of [linois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.

Waiver of Rights

26. Defendant understands that by pleading guilty he surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not
euilty to the charges against him, and if he does, he would have the right to a public
and speedy trial.

. L, The trial could be either a jury trial or a trial by the judge

sitting without a jury. However, im order that the trial be conducted by the judge

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sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

i. Tf the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

iii, If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving
defendant guilty beyond a reasonable doubt, and that the jury could not convict him
unless, after hearing all the evidence, it was persuaded of his guilt beyond a
reasonable doubt and that it was to consider each count of the indictment separately.
The jury would have to agree unanimously as to each count before it could return a
verdict of guilty or not guilty as to that count.

iv. Tf the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and. considering
each count separately, whether or not the judge was persuaded that the government
had established defendant’s guilt beyond a reasonable doubt.

v. At a trial, whether by a jury or a judge, the government

would be required to present its witnesses and other evidence against defendant.

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Defendant would be able to confront those government witnesses and his attorney
would be able to cross-examine them.

Vi. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
Court, A defendant is not required to present any evidence.

vu. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in his
own behalf.

b. Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his vight to trial. Defendant is aware that Title 28, United States Code,
Section 1291, and Title 18, United States Code, Section 3742, afford a defendant the
right to appeal his conviction and the sentence imposed, Acknowledging this, if the
government makes a motion at sentencing for a downward departure pursuant to
Guideline § 5K 1.1, defendant knowingly waives the right to appeal his conviction,
any pre-trial rulings by the Court, and any part of the sentence (or the manner in
which that sentence was determined), including any term of imprisonment and fine
within the maximums provided by law, and including any order of restitution or

forfeiture, in exchange for the concessions made by the United States in this

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Agreement. In addition, if the government makes a motion at sentencing for a
downward departure pursuant to Guideline § 5K1.1, defendant also waives his right
to challenge his conviction and sentence, and the manner in which the sentence was
determined, in any collateral attack or future challenge, including but not limited to
a motion brought under Title 28, United States Code, Section 2255. The waiver in
this paragraph does not apply to a claim of involuntariness or ineffective assistance
of counsel, nor does it prohibit defendant from seeking a reduction of sentence based
directly on a change in the law that is applicable to defendant and that, prior to the
filing of defendant’s request for relief, has been expressly made retroactive by an Act
of Congress, the Supreme Court, or the United States Sentencing Commission.

27. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those
rights to him, and the consequences of his waiver of those rights.

_Presentence Investigation Report/Post-Sentence Supervision

28, Defendant understands that the United States Attorney’s Office im its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charges against him,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of defendant's

cooperation.

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29. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and
shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent income
tax returns as specified by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,
may be used as a basis for denial of a reduction for acceptance of responsibility
pursuant to Guideline § 361.1 and enhancement of his sentence for obstruction of
justice under Guideline § 38C1.1, and may be prosecuted as a violation of Title 18,
United States Code, Section 1001 or as a contempt of the Court.

30. For the purpose of monitoring defendant’s compliance with his
obligations to pay a fine and restitution during any term of supervised release or
probation to which defendant is sentenced, defendant further consents to the
disclosure by the IRS to the Probation Office and the United States Attorney’s Office
of defendant’s individual income tax returns (together with extensions,
correspondence, and other tax imformation) filed subsequent to defendant's
sentencing, to and including the final year of any period of supervised release or
probation to which defendant is sentenced. Defendant also agrees that a certified copy
of this Agreement shall be sufficient evidence of defendant's request to the IRS to
disclose the returns and return information, as provided for in Title 26, United States

Code, Section 6108(b).

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Other Terms

31, Defendant agrees to cooperate with the United States Attorney's Office
in collecting any unpaid fine and restitution for which defendant is liable, including
providing financial statements and supporting records as requested by the United
States Attorney’s Office.

32, Tf vequested by the United States, defendant agrees to voluntarily
appear in the United States at any court proceeding, including his sentencing
hearing, or to serve his criminal sentence, If a sentence of imprisonment is imposed
by the United States District Court, defendant agrees to surrender himself to United
States law enforcement to serve that sentence on the same day as his sentencing
hearing.

33. Unless prohibited by law, the government agrees not to contest a request
or motion by defendant to remotely conduct his change of plea hearing.

34, If applicable, defendant agrees not to contest extradition to the United
States and agrees to waive any rights he has to oppose extradition from any country
in which he may be found. Upon the filing of an extradition request by the United
States of America, defendant agrees to appear before the relevant authority, such as
a magistrate judge, and not to contest extradition.

85. If defendant applies for an international prison transfer out of the
Bureau of Prisons, the U.S. Attorney’s Office for the Northern District of Mhnois

agrees not to oppose the transfer request. Defendant acknowledges and understands,

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however, that the transfer decision rests in the sole discretion of the Office of
International Affairs ('OIA") of the Criminal Division of the United States
Department of Justice and that the posttion of the U.S. Attorney’s Office for the
Northern District of Illinois is neither binding nor determinative of the positions of
other federal agencies or on the final transfer decision of OIA. Defendant further
understands that in addition to OIA, federal law and the underlying transfer treaties
require that the foreign government must also approve the transfer.

86. Defendant recognizes that pleading guilty may have consequences with
respect to his immigration status if he is not a citizen of the United States. Under
federal law, a broad vange of crimes are removable offenses, including the offense to
which defendant is pleading guilty. Indeed, because defendant is pleading guilty to
an offense that is an “aggravated felony” as that term is defined in Title 8, United
States Code, Section 1101(a)(43), removal is presumptively mandatory. Removal and
other immigration consequences are the subject of a separate proceeding, however,
and defendant understands that no one, including his attorney or the Court, can
predict to a certainty the effect of his conviction on his immigration status. Defendant
also recognizes that pleading guilty may have consequences with respect to his
immigration status in countries other than the United States. Defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration
consequerices that his guilty plea may entail, even ifthe consequence is his automatic

removal from the United States.

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37. Defendant agrees to return or destroy all Motorola confidential,

proprietary, or trade secret information in his custody, care, or control,
Conclusion

38. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

39, Defendant understands that his compliance with each part of this
Agreement extends throughout the pexiod of his sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and thereafter
prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant's specific performance of this
Agreement. Defendant understands and agrees that in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of
its terms and the government elects to void the Agreement and prosecute defendant,
any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in
accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement of such

prosecutions.

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40, Should the judge refuse to accept defendant's plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

41. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth
in thia Agreement, to cause defendant to plead guilty,

42, Defendant acknowledges that he has read this Agreement and carofully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement,

AGREED THIS DAT De cennafone r!, ao0adg

MORRIS PASQUAL | Reo Ke KOK
Attorney for the United States \ Defendant
Aging Under Authority Conferred by

Linge Seema

ALL u, LAA ES ° EUGENE MURPHY ~
MELODY WELLS Attorney for Defendant
VIKAS DIDWANIA

Assistant U.S, Attorneys

